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16 CENTRAL DISTRICT OF CALIFORNIA
17 WESTERN DIVISION
18 | [UNDER SEAL] case noe ¥ 16 - 098 3 HO)
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a v. 31 U.S.C. § 3730)
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93 | (UNDER SEAL] OF THE FEDERAL
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COMPLAINT |

 

 

 
 

 

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[UNDER SEAL]

Plaintiff[s],

[UNDER SEAL]

Defendant{[s].

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UNITED STATES DISTRICT COURT
CENTRAL DISTRICT OF CALIFORNIA
WESTERN DIVISION

 

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31 U.S.C. $ 3730 (b)

COMPLAINT FOR VIOLATIONS
OF THE FEDERAL

FALSE CLAIMS ACT

JURY TRIAL DEMANDED

DO NOT ENTER ON PACER

 

COMPLAINT

 

CASE NO:

 

 

 

 
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Llorens Pembrook

UNITED STATES OF AMERICA ex
rel LLORENS PEMBROOK,

Plaintiff-Relator
Vv.

PROVIDENCE HEALTH &
SERVICES, PROVIDENCE
TARZANA MEDICAL CENTER,
PROVIDENCE HOLY CROSS
MEDICAL CENTER, PROVIDENCE
LITTLE COMPANY OF MARY
MEDICAL CENTER TORRANCE,
PROVIDENCE SAINT JOHN’S
HEALTH CENTER, PROVIDENCE
SAINT JOSEPH MEDICAL CENTER,

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UNITED STATES DISTRICT COURT
CENTRAL DISTRICT OF CALIFORNIA
WESTERN DIVISION

Case No.:

FILED IN CAMERA AND
UNDER SEAL PURSUANT TO

3I USC. § 3730 (b)

COMPLAINT FOR VIOLATIONS
OF THE FEDERAL
FALSE CLAIMS ACT

JURY TRIAL DEMANDED

DO NOT ENTER ON PACER
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PROVIDENCE TRINITYCARE
HOSPICE - CERRITOS,
PROVIDENCE TRINITYCARE
HOSPICE — TORRANCE,
PROVIDENCE TRINITYKIDS CARE,
PROVIDENCE HEALTH &
SERVICES -OREGON, PROVIDENCE
HOOD RIVER MEMORIAL
HOSPITAL, PROVIDENCE
MEDFORD MEDICAL CENTER,
PROVIDENCE MILWAUKIE
HOSPITAL, PROVIDENCE
NEWBERG MEDICAL CENTER,
PROVIDENCE PORTLAND
MEDICAL CENTER, PROVIDENCE
SEASIDE HOSPITAL, PROVIDENCE
ST. VINCENT MEDICAL CENTER,
PROVIDENCE WILLAMETTE FALLS
MEDICAL CENTER, BENEDICTINE
HOSPICE, PROVIDENCE HOSPICE ~—
MEDFORD, PROVIDENCE HOSPICE
— HOOD RIVER, PROVIDENCE
HOSPICE —-PORTLAND,
PROVIDENCE HEALTH &
SERVICES - WASHINGTON,
PROVIDENCE CENTRALIA
HOSPITAL, PROVIDENCE ST.
JOSEPH’S HOSPITAL, PROVIDENCE
MOUNT CARMEL HOSPITAL,
PROVIDENCE REGIONAL
MEDICAL CENTER COLBY
CAMPUS, PROVIDENCE ST. PETER
HOSPITAL, PROVIDENCE HOLY
FAMILY HOSPITAL, PROVIDENCE
SACRED HEART CHILDREN’S
HOSPITAL, PROVIDENCE SACRED
HEART MEDICAL CENTER,
PROVIDENCE ST. MARY MEDICAL
CENTER, SOUNDHOMECARE AND
HOSPICE, HOSPICE OF SEATTLE
PALLIATIVE CARE, HOSPICE AND

 

 

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COMPLAINT

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HOME CARE OF SNOHOMISH
COUNTY, PROVIDENCE HEALTH
& SERVICES - MONTANA, ST.
PATRICK HOSPITAL, PROVIDENCE
ST. JOSEPH MEDICAL CENTER,
PROVIDENCE HEALTH SYSTEM -
SOUTHERN CALIFORNIA,
PROVIDENCE TRINITYCARE
HOSPICE,

Defendants.

 

 

 

 

COMPLAINT

 

 

CASE NO:

 

 
 

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-16-cv-00835-SVWARAO Document 1 Filed 02/05/16 Page 6 of 23 Page ID #:37 |

Relator Llorens Pembrook, on behalf of himself and the United States of

America, brings this action and shows the following:
JURISDICTION AND VENUE
l. This action arises under the Federal False Claims Act, as amended, 31
US.C. §§ 3729 et seq.
2, This court has subject matter jurisdiction over this action pursuant to 28
U.S.C. § 3732(a), 31 U.S.C. § 3732(b), and 28 U.S.C. § 1331.
3. This court has personal jurisdiction over Defendants and is a proper venue
pursuant to 31 U.S.C. § 3732(a) and 28 U.S.C. § 1931(b) in that Defendants do or
transact business in this jurisdiction and the violations of the False Claims Act
described herein were carried out in this district.
PARTIES TO THE ACTION

4, Providence Health & Services (“Providence”) is the third largest not-for-
profit health system in the United States, operating 34 hospitals, 475 physician
clinics, 22 long-term care facilities, and 19 hospice and home health programs
across Alaska, California, Montana, Oregon, and Washington.
5. Providence serves over 7,000 people in home health and palliative care
programs on a daily basis.
6. Providence Tarzana Medical Center; Providence Holy Cross Medical
Center; Providence Little Company of Mary Medical Center Torrance; Providence
Saint John’s Health Center; Providence Saint Joseph Medical Center; Providence
TrinityCare Hospice — Cerritos; Providence TrintyCare Hospice — Torrance;
Providence TrinityKids Care; Providence Health & Services - Oregon; Providence
Hood River Memorial Hospital; Providence Medford Medical Center; Providence
Milwaukie Hospital; Providence Newberg Medical Center; Providence Portland
Medical Center; Providence Seaside Hospital; Providence St. Vincent Medical
Center; Providence Willamette Falls Medical Center; Benedictine Hospice;

Providence Hospice - Medford; Providence Hospice - Hood River; Providence

 

COMPLAINT 1 CASE NO:

 

 

 
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Hospice - Portland; Providence Health & Services - Washington; Providence
Centralia Hospital; Providence St. Joseph’s Hospital; Providence Mount Carmel
Hospital; Providence Regional Medical Center Colby Campus; Providence St.
Peter Hospital; Providence Holy Family Hospital; Providence Sacred Heart.
Children’s Hospital; Providence Sacred Heart Medical Center; Providence St.
Mary Medical Center; Soundhomecare and Hospice; Hospice of Seattle Palliative
Care; Hospice and Home Care of Snohomish County; Providence Health &
Services - Montana; St. Patrick Hospital; Providence St. Joseph Medical Center;
Providence Health System - Southern California; and Providence TrinityCare
Hospice are Providence-owned locations offering palliative care services.

7. Providence Tarzana Medical Center (“Tarzana”) is a 245-bed facility
purchased by Providence Health & Services in July 2008.

8. Tarzana has an average daily census of 173 patients. Usually approximately
5-10 patients are on palliative care at a time, and approximately 80%-90% of those
patients are Medicare beneficiaries, with the remainder as private insurance.

9, Providence TrinityCare Hospice (“TrinityCare”) provides a full range of
palliative care and hospice care to patients nearing the end of life, including those
at Providence Tarzana Medical Center.

10. Qui tam Relator Llorens Pembrook (“Relator” or “Dr. Pembrook”) is a
citizen and resident of the State of California and brings this action on behalf of the
United States of America.

11. Dr. Pembrook has worked in the medical profession since graduating from
the University of California at Davis School of Medicine in 1976.

12. Dr. Pembrook has designed and operated palliative care units since 1995,
including as Director of a start-up independent palliative unit from 1995-2005 and
Medical Director for Inpatient Hospice and Palliative Care for Sherman Oaks
Hospital from 2003-2006.

13. In 2009 he was recruited by Providence Tarzana Medical Center’s then CEO

 

COMPLAINT 2 CASE NO:

 

 

 
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Dale Surowitz and then CMO Glenn Irani to create and manage its first palliative
care unit—as part of a system-wide push by Providence—which he did as an
independent contractor until he was constructively discharged on June 19, 2014.
14. In this role, Dr. Pembrook was responsible for developing all of the
palliative care protocols at the hospital and was the palliative care representative on
the hospital committees.

THE MEDICARE PROGRAM
15. Title XVIII of the Social Security Act, 42 U.S.C. §§ 1395 et seq., establishes
the Health Insurance for the Aged and Disabled Program, popularly known as the
Medicare program. The Secretary of Health and Human Services (“HHS”)
administers the Medicare Program through the Centers for Medicare and Medicaid
Services (“CMS”).
16. The Medicare program is comprised of four parts. Medicare Part A
(“Hospital Insurance”) provides basic insurance for the costs of hospitalization and
post hospitalization care. 42 U.S.C. §§ 1395c-i-5. Medicare Part B (“Medical
Insurance”) is a federally subsidized, voluntary insurance program that covers the
fee schedule amount for doctors' services, outpatient care, medical supplies, and
laboratory services, including facility dialysis treatments. 42 U.S.C. §§ 1395j-w-S.
Medicare Part C (“Medicare Advantage Plans”) is a plan offered by private
insurers that contract with Medicare to provide Part A and Part B benefits. 42
U.S.C. §§ 1395w-21-w-28. Medicare Part D (‘Prescription Drug Coverage”) is a
plan offered by private insurers approved by Medicare to provide basic insurance
for prescription drugs. 42 U.S.C. §§ 1395w-101-w-154.
17. Reimbursement for Medicare Part A claims is made by the United States
through CMS. Hospitals submit Medicare Part A claims directly to CMS, which in
turn makes a standard, bundled payment based on a DRG diagnostic code.
18. Reimbursement for Medicare Part B claims is made by the United States

through CMS. CMS, in turn, contracts with fiscal intermediaries to administer and

 

 

 

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pay Medicare Part B claims from the Medicare Trust Fund. 42 U.S.C. § 1395(u). In
this capacity, the fiscal intermediaries act on behalf of CMS. 42 C.F.R. § 421.5(b).
Separate payments are made for each CPT procedural code listed on the Medicare
Part B claims.
19. Reimbursement for Medicare Part C claims is made by the United States
through CMS. CMS makes fixed monthly payments to each Medicare Choice
organization for each enrolled individual, i.e., a capitated payment.
20. Reimbursement for Medicare Part D claims is made by the United States
through CMS. CMS reimburses the insurance plans for a percentage of its
payments for prescription drugs.
21. In order to receive Medicare funds, enrolled providers, including
Defendants, together with their authorized agents, employees, and contractors, are
required to abide by all the provisions of the Social Security Act, the regulations
promulgated under the Act, and all applicable policies and procedures issued by the
states.
22, Among the rules and regulations which enrolled providers, including
Defendants, agree to follow are to: (a) bill Medicare for only those covered
services which are medically necessary; (b) not bill Medicare for any services or
items which were not performed or delivered in accordance with all applicable
policies, nor submit false or inaccurate information relating to provider costs or
services; (c) not engage in any act or omission that constitutes or results in over-
utilization of services; (d) comply with state and federal statutes, policies and
regulations applicable to the Medicare Program; and (e) not engage in any illegal
activities related to the furnishing of services to recipients.

FRAUDULENT SCHEME
23. Palliative care is a medical specialty that helps patients and their families
live as fully as possible when faced with a life-threatening illness. Palliative care

services may be provided during any phase of an illness, including active

 

 

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treatments such as chemotherapy. It addresses physical, intellectual, emotional,
social, and spiritual needs and facilitates patient autonomy, access to information,
and choice.

24. The majority of palliative care patients at Tarzana were end-of-life, mostly
suffering from terminal cancer.

25. When a Medicare beneficiary is admitted to the hospital, they are assigned a
DRG code, depending on their diagnosis. A DRG, or diagnostic related grouping,
is how Medicare categorizes hospitalization costs and determines how much to pay
for a patient's hospital stay. Rather than paying the hospital for an itemized list of
procedures, medications, and supplies, Medicare pays the hospital a fixed amount
based on the patient’s DRG.

26. If the cost of treating the patient is less than the DRG reimbursement
amount, the hospital makes a profit. If the patient costs more than the DRG pays,
however, the hospital loses money on that patient.

27. Thus the DRG payment structure incentivizes hospitals such as Providence
Tarzana Medical Center to treat and discharge patients as quickly and efficiently as
possible.

28. Since at least 2012, the administrators at Tarzana have exerted a great deal of
pressure on the case managers and discharge planners to discharge patients to their
homes or to skilled nursing facilities as soon as they are able.

29. The palliative care team is a valuable resource for the hospital, as it has been
found to considerably speed up discharges through education, compassion, and
assisting the patients and their families.

30. General Inpatient Care (GIP) is a level of hospice care intended for a patient
for whom pain control or symptom management cannot be managed by the regular
hospital staff. See 42 C.F.R. § 418.302(b)(4); see also Medicare Benefit Policy
Manual, Chapter 9, § 40.1.5.

31. GIP care is intended to be short-term care only. See 42 C.F.R. § 418.302(f)

 

 

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(capping payment for respite/GIP).

32. Assigning a patient to GIP requires the hospital staff to certify that it lacks
the capability to properly manage the patient’s pain or symptoms and so requires
outside assistances.

33. Whereas the hospital is normally limited to the DRG payment, regardless of
what treatments are required, once a patient is assigned to GIP, it can submit claims
for payment to Medicare for the provision of GIP services.

34. The payment rate for GIP varies by year and location, but, for example, the
unadjusted daily Medicare GIP rate for FY 2011 was $652.27 per day.

35. For those patients whom Tarzana had difficulty discharging, administrators,
individually and by and through discharge planners and case managers, pressured
Dr. Pembrook and the palliative care service to assign the patients to GIP.

36. Dr. Pembrook and his staff constantly heard from administrators that patients
needed to be assigned to GIP to “get them off the hospital books.”

37. When a patient has been assigned to GIP at Tarzana or other Providence
facilities, contractors from TrinityCare take over the patient’s care until the
pain/symptoms subside.

38. Providence owns the GIP provider, TrinityCare, and so assigning patients to
GIP constitutes a windfall for Providence.

39. To the best of Dr. Pembrook’s recollection, there was not a single patient
under his watch at Tarzana whose symptoms were out of control, thereby
necessitating GIP.

40. All of Tarzana’s patient assignments to GIP were medically unnecessary and
unreasonable in the professional judgment of Dr. Pembrook, who was responsible
for the palliative care of these patients.

41. In fact, on one occasion, Tarzana assigned a patient to GIP without Dr.
Pembrook’s knowledge or consent, and by the time TrinityCare arrived, he had

already resolved the patient’s symptoms. TrinityCare stayed around to fill out the

 

COMPLAINT | 6 CASE NO:

 

 
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paperwork and provide support, and this patient was billed to Medicare for GIP.

42. Since TrinityCare is owned and operated by Providence, it never decides that
a patient is ineligible for GIP, participates in the fraud by keeping the patients on
GIP for long periods, and Providence reaps all the profits of assigning a patient to
GIP.

43. In fact, TrinityCare’s Regional Palliative Care Director, Dr. Glenn
Komatsu, signs the certifications for GIP without ever even seeing the patients.

44. During the time the patient is on GIP, the hospital is able to continue
working on finding a place to discharge these patients, while being reimbursed for
their care.

45. Ifthe hospital is unable to safely discharge the patient at the end of their GIP
period, they are unsafely discharged to their homes or SNFs.

46. Dr. Pembrook cannot recall a single instance at Tarzana where a patient was
placed back into standard care after GIP.

47. Because the hospitalists group at Tarzana is underwritten by the hospital,
and they are facing similar pressures to open up beds for new, paying patients, they
readily sign off on these discharges.

48. The unsafe discharges of very sick patients became a point of contention
between Dr. Pembrook and the hospital administration.

49. Ona near daily basis, Dr. Pembrook and the palliative care nurses faced a
barrage of pressure to assign patients to GIP, and off the hospital’s books.

50. Not only did case managers and discharge planners pressure him—as they
were forced to do by the administration—but when Dr. Pembrook refused to assign
patients to GIP when it was medically unreasonable and unnecessary, pressure also
came from CEO (Jerry Clute), CMO (Glen Irani), CNO/COO Phyllis Bushart, and
the Risk Management department.

51. For two. straight years, Dr. Pembrook had regular meetings and

communications with the hospital administrators (some at his request), in which he

 

COMPLAINT 7 CASE NO:

 

 

 

 
 

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1 | explained his concerns with unsafe discharges and the strict criteria for GIP.
2} 52. Dr. Pembrook can recall having requested, and held, at least two meetings
3 | with then CEO Jerry Clute.
4 | 53. Dr. Pembrook’s concerns fell on deaf ears, however, and the administration
5 | became more intent on increasing the number of patients in GIP.
6} 54. In fact, in one meeting, CEO Clute exclaimed “there must be some way to
7 || get around Medicare criteria for GIP.”
8 | 55. Onat least one occasion, CEO Clute requested that Dr. Pembrook decline to
9 | administer or take patients off of pain management and comfort medications at end
10 | of life so that they would qualify for GIP.
11 | 56. Dr. Pembrook, of course, refused.
12 | 57. In a subcommittee meeting, CMO Irani told Dr. Pembrook, in front of
13 | approximately ten other committee members, to go along with the administration’s
14 | demands or “get out.”
15 | 58. Palliative Care Nurse Laura Fairley and Tarzana Chief of Staff Alina Lopo

16 | also complained in committee meetings about patients being unsafely discharged

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17 | to their homes.

18 | 59. When Tarzana patients were to be admitted to GIP, the orders in the
19 | patient’s charts indicated that the nurses and/or social workers were to call Dr.
20 | Glenn Komatsu, TrinityCare Regional Palliative Care Director, and not Dr.
21 | Pembrook, notwithstanding that Dr. Komatsu had no direct involvement with the
22 | patients or their families, and so was in no position to make any medical
23 || determinations.

24 | 60. Dr. Komatsu signed the certifications that the patients qualified for GIP.

25 | 61. Dr. Pembrook had to monitor the patient charts daily to ensure that Dr.
26 | Komatsu, who again had no actual involvement with the patient, had not prescribed
27 | a dangerous course of treatment.

28 | 62. Dr. Pembrook argued constantly to hospital administrators that this was bad

 

 

COMPLAINT 8 CASE NO:

 

 

 
 

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medicine, having the orders of an off-site doctor supersede the doctor on-site, but
he was ignored.

63. In or about early spring 2014, Dr. Pembrook’s right-hand woman, Palliative
Care Nurse Laura Fairley, resigned.

64. She had stood by Dr. Pembrook on his decisions not to assign patients to
GIP and had faced similar acts of retaliation.

65. The hospital changed her hours with no explanation, making it impossible
for her to keep her position.

66. Although Nurse Fairley was an integral part of the Palliative Care Service,
including handling all of the service’s statistical data and scheduling meetings with
the patients’ families, the administration made no moves to replace her.

67. Dr. Pembrook met with CEO Clute and CNO Bushart to discuss the
necessity of hiring a new Palliative Care Nurse, but she still was not replaced.

68. Dr. Pembrook was now running the entire palliative care service almost
entirely by himself, which was unsustainable.

69. In or about late spring 2014, approximately eighteen months before Dr.
Pembrook’s contract would expire, CMO Irani began to look for his replacement.
70. Dr. Pembrook learned from the hospital Chief of Staff that CMO Irani had
been conducting interviews for Dr. Pembrook’s replacement while he was on
vacation.

71, From that point on, the administration made Dr. Pembrook’s life miserable
in an effort to push him out.

72. Dr. Pembrook was also excluded from the GIP decision-making process for
his patients; instead, the hospital contracted with independent consultants to give
their opinions as to whether the patients qualified for GIP, and did not tell Dr.
Pembrook—Medical Director for the Palliative Care Service—that these
consultations were taking place.

73. Dr. Pembrook requested a meeting with all of the administrators regarding

 

COMPLAINT 9 CASE NO:

 

 

 

 

 

 
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“Page 15 of 23 Page ID #:46

  

the impropriety of his being excluded from decisions regarding the care of his own
patients, but received no relief.

74, There were additional instances of retaliation as well. For example, for each
of the three months leading up to his constructive discharge, the hospital delayed
his monthly stipend by approximately two weeks.

75. Another example, the nursing staff accused him of “euthanizing patients”
and nothing was done about it.

76. Yet another example, in the first quarter of 2014, the California Board of
Medical Quality Assurance opened an investigation on his prescribing practices.
This is the only review the Board had performed on Dr. Pembrook in his thirty-
five years of practicing medicine, and, upon information and belief, it was
instigated by the administration at Tarzana.

77. On June 18, 2014, CEO Clute met with Dr. Pembrook and told him that
someone “higher up” in Providence’s regional administration was coming to the
hospital to “oversee him.”

78. This was the final straw of a long series of retaliatory actions and hostile
work environment created by Providence and Tarzana—including removing him
from the decision-making process for his own patients, declining to give him the
necessary support staff, interviewing his replacement while he still had over a year
on his contract, verbally abusing and ostracizing him, and now assigning him a
corporate supervisor—resulting in Dr. Pembrook’s constructive termination on
June 19, 2014.

79, Upon information and belief, what Dr. Pembrook experienced firsthand has
occurred across the entire Providence system, including but not limited to hospitals,
hospices, and longterm care facilities (which, by billing patients as GIP, recover
approximately three times as much as for routine care).

80. This belief is based on Dr. Pembrook’s own personal experience and

understanding of how Tarzana was operated, and that orders and decisions

 

 

COMPLAINT 10 CASE NO:

 

 

 

 

 
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' Case 2

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including but not limited to the creation and supervision of the palliative care
programs, replacement of Tarzana hospital administrators, and pressures to move

patients to GIP to increase profits, were made by Providence on a corporate level.

COUNT I
Violation of 31 U.S.C. § 3729 — Federal False Claims Act

81. Relator incorporates and realleges herein all other paragraphs as if fully set
forth herein.

82. As set forth above, Defendants, individually and by and through their agents,
officers, and employees, knowingly presented or caused to be presented numerous
false or fraudulent claims for payment or approval, in violation of the False Claims
Act, 31 U.S.C. § 3729%(a)(1)(A).

83. As set forth above, Defendants, individually and by and through their
agents, officers, and employees, knowingly made, used, or caused to be made or
used, false records or statements material to numerous false claims, in violation of
the False Claims Act, 31 U.S.C. § 3729(a)(1)(B).

84, As set forth above, Defendants conspired to commit a violation of the False
Claims Act, in violation of 31 U.S.C. § 3729(a)(1)(C).

85. Due to Defendants’ conduct, the United States Government has suffered
substantial monetary damages.

86. The United States is entitled to treble damages based upon the amount of
damage sustained by the United States as a result of the aforementioned violations
of the Federal False Claims Act, 31 U.S.C §§ 3729-3733, in an amount that will be
proven at trial.

87. The United States is entitled to a civil penalty of between $5,500 and
$11,000 as required by 31 U.S.C. § 3729(a) for each of the fraudulent claims and

statements.

 

COMPLAINT 1] CASE NO:

 

 
 

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‘ Case 2:

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88. Relator is also entitled to reasonable attorney’s fees and costs, pursuant to
31 U.S.C. § 3730(d)(1).

COUNT
Violation of 31 U.S.C. § 3730 — Retaliation

89. Relator incorporates and realleges herein all other paragraphs as if fully set
forth herein.

90. Providence and Tarzana violated Relator Pembrook’s rights pursuant to 31
U.S.C. § 3730(h) by retaliating against him for lawful acts done by him in
furtherance of an action under the False Claims Act and other efforts to stop one
or more violations of the False Claims Act, including but not limited to his
constructive discharge.

91. Asaresult of Defendants’ actions, Relator Pembrook has suffered damages

in an amount to be shown at trial.

PRAYER FOR RELIEF

WHEREFORE, Relator prays for judgment:

(a) awarding the United States treble damages sustained by it for each of the
false claims;

(b)awarding the United States a civil penalty of $11,000 for each of the
false claims and statements;

(c) awarding Relator 30% of the proceeds of this action and any alternate
remedy or the settlement of any such claim;

(d)awarding Relator special damages resulting from the retaliation pursuant
to 31 U.S.C. § 3730(h);

(e) awarding Relator his litigation costs and reasonable attorney’s fees; and

(f) granting such other relief as the Court may deem just and proper.

 

COMPLAINT 12 CASE NO:

 

 

 

 

 
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DEMAND FOR JURY

Pursuant to Fed. R. Civ. P. 38, the Relator hereby demands a trial by jury.

DATED: February 5, 2016

Respectfully Submitted,

KELL A GROVERILLP

  

By: A
[SATHLEEN R. SCANLAN
EFFREY F. KELLER
Attorneys for Relator

 

 

COMPLAINT

1%) CASE NO:

 

 

 

 

 
 

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U.S Department of Justice

CERTIFICATE OF SERVICE

I, NATALYA ALTMAN, am employed in the County of San Francisco, .
State of California. I am over the age of eighteen and not a party to the within
action. My business address is 1965 Market Street, San Francisco, California
94103. On February 5, 2016, I served the foregoing document(s): |

COMPLAINT FOR VIOLATIONS OF THE FEDERAL
FALSE CLAIMS ACT

NOTICE OF INTERESTED PARTIES
on the interested party(ies) as set forth below:

Loretta Lynch David K. Barrett

Attorney General Assistant U.S. Attorney
Chief, Civil Fraud Section
Central District of California
Federal Building Suite 7516
300 North Los Angeles Street
Los Angeles, CA 90012

950 Pennsylvania Avenue, NW.
Washington, DC 20530-0001

Attorneys for United States Attorneys for United States

 

LX] | (BY UNITED STATES MAIL) I sealed the envelope(s), with postage
thereon fully prepaid, and on the date below, following ordinary business
practices, I placed it for collection and mailing in the United States Postal
Service, in San Francisco, California.

 

[| | (BY FEDERAL EXPRESS — PRIORITY OVERNIGHT MAIL) I placed a
true copy in a sealed envelope addressed as indicated above this date. I am
familiar with the firm’s practice of collection and processing
correspondence for Federal Express delivery. It is deposited in a Federal
Express depository on that same day in the ordinary course of business for
delivery to the parties above the next business day.

 

L| | (BY ELECTRONIC SERVICE) by electronically mailing a true and correct
copy in PDF format through our electronic mail system to the email
address(es) set forth above, or as stated on the attached service list per
agreement between the parties.

 

[ | | (BY FACSIMILE) By transmitting to a facsimile machine maintained by
the recipient at the facsimile machine telephone number as last given by
that person.

 

 

 

[_| | (BY PERSONAL SERVICE) I caused such envelope(s) to be delivered by

 

 

 

CERTIFICATE OF SERVICE 14 CASE NO:

 

 

 

 
KELLER GROVER LLP

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' Case 2:16-cv-00835-SVWéRAO Document 1 Filed 02/05/16 Page 20 of 23 Page ID #:51

Tel. 415.543.1305; Fax 415.543.7861

 

hand this date to the offices of the addressee(s).

 

 

IX] | (FEDERAL) I declare under penalty of perjury under the laws of the
United States that the above is true and correct.

 

 

 

Executed on February 5, 2016, at San Francisco, California.

N. Qk

 

NATALYA ALTMAN

 

 

CERTIFICATE OF SERVICE

15 CASE NO:

 

 

 

 
Case 2:16-cv-00835-SVW-RAQ Document 1 Filed 02/05/16 Page 21 of 23 Page ID #:52 \

   

UNITED STATES DISTRICT COURT, CENTRAL DISTRICT OF CALIFORNIA
CIVIL COVER SHEET

DEFENDANTS = ( Check box if you are representing yourself rt )

  
    
 

 

PROVIDENCE HEALTH & SERVICES, et al

 

 

 

(b) County of Residence of First Listed Plaintiff Los Angeles County of Residence of First Listed Defendant

(EXCEPT IN U.S. PLAINTIEF CASES) (ON U.S. PLAINTIFF CASES ONLY)

(c) Attorneys (Firm Name, Address and Telephone Number) If you are Attorneys (Firm Name, Address and Telephone Number If you are
presenting yourself, provide the same information. : representing yourself, provide the same information.

ELLER GROVER LLP
1965 MARKET STREET
AN FRANCISCO, CA 94103

 

 

1. BASIS OF JURISDICTION (Piace an X in one box only.) iI. CITIZENSHIP OF PRINCIPAL PARTIES-For Diversity Cases Only
(Place an X in one box for plaintiff and one for defendant)
PTF DEF PTF DEF
X] 1. U.S. Government 3. Federal Question (U.S. __ |Citizen of This State fa oi incorporated or Principal Place c4
Plaintiff U Government Not a Party) of Business in this State

Citizen of Another State [[] 2 [-] 2. incorporated and Principal Place [J] 5 [5
of Business in Another State

 

 

2. U.S. Government 4. Diversity (Indicate Citizenship Citizen or Subject of a : .
F
Defendant of Parties in Item Il!) Foreign Country [J] 3 [] 3. Foreign Nation Cy 6 6
IV. ORIGIN (Place an X in one box only.) «Mur

1. Original 2. Removed from 3. Remanded from 4. Reinstated or 5. Transferred from Another Distri
f strict
Proceeding LJ State Court LI Appellate Court (J Reopened LJ District (Specify) UJ] Litigation

 

V. REQUESTED IN COMPLAINT: JURY DEMAND: Yes [_] No (Check "Yes" only if demanded in complaint.)

CLASS ACTION under F.R.Cv.P. 23: []Yes [_|No [] MONEY DEMANDED IN COMPLAINT: $
VI. CAUSE OF ACTION (cite the U.S. Civil Statute under which you are filing and write a brief statement of cause. Do not cite jurisdictional statutes unless diversity.)
31 U.S.C, 3729-33; False Claims Act - healthcare fraud

 

 

Vil. NATURE OF SUIT (Place an X in one box only)

 

            

 

 

 

 
    
   

 

 

   

 

 

 

  

 

 

 

   

 

 

 

   

 

 

 

 

   

 

 

 

 

 

 

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Cl 490 Cable/Sat TV Loan (Excl. Vet.) 340 Mari : NERUPTCO) Confinement ir 870 Taxes u S. Plaintiff or —
[7] 850 Securities/Com- is3 Recovery of | 345 Marine Product n 422 Appeal 28 “FORFEITURE/PENALTY |] Defendant)
moaities/Exchange —/"] Overpaymentof |] itspitity USC 158 625 Drug Related [821 IRS-Third Party 26 USC
oO 890 Other Statutory Vet. Benefits 423 Withdrawal 28 Seizure of Property 21 7609
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1. Agricultural Acts O Suits 355 Motor Vehicle FE iC 690 Other
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FOR OFFICE USE ONLY: Case Number: + V 1 6 t 8 J By

CV-71 (10/14) CIVIL COVER SHEET Page 1 of 3

 
 

Case 2:16-cv-00835-SVW-R Document 1 Filed 02/05/16 Page 22 of 23 Page ID #:53

    

2

UNITED STATES DISTRICT COURT, CENTRAL DISTRICT OF CALIFORNIA
CIVIL COVER SHEET

Vil. VENUE: Your answers to the questions below will determine the division of the Court to which this case will be initially assigned. This initial assignment is subject
to change, in accordance with the Court's General Orders, upon review by the Court of your Complaint or Notice of Removal.

QUESTION A: Was this case removed
from state court?
[-] Yes No

If "no; " skip to Question B. If "yes," check the
box to the right that applies, enter the [} Orange Southern
corresponding division in response to —— ;
Question E, below, and continue from there. |L_] Riverside or San Bernardino Eastern

 

 

 

[-] Los Angeles, Ventura, Santa Barbara, or San Luis Obispo Western

 

 

 

 

        

 

QUESTION B: {fs the United States, or |B.1. Do 50% or more of the defendants who reside in YES. Your case will initially be assigned to the Southern Division,

one of its agencies or employees, a —_the district reside in Orange Co? [_] Enter "Southern" in response to Question E, below, and continue

PLAINTIFF in this action? from there.
check one of the boxes to the right aa

 

Yes [] No NO. Continue to Question B.2.

 

; ; B.2. Do 50% or more of the defendants who reside in
if "no, "skip to Question C. If "yes," answer ithe district reside in Riverside and/or San Bernardino oO
Question B.1, at right. Counties? (Consider the two counties together.)

YES. Your case will initially be assigned to the Eastern Division.
Enter "Eastern" in response to Question E, below, and continue
from there.

 

check one of the boxes to the right NO. Your case will initially be assigned to the Western Division.
> Enter "Western" in response to Question E, below, and continue
from there.

 

        

   

 

QUESTION C: Is the United States, or [C.1. Do 50% or more of the plaintiffs who reside in the YES. Your case will initially be assigned to the Southern Division.
one of its agencies or employees, a (district reside in Orange Co? [_] Enter “Southern” in response to Question E, below, and continue

DEFENDANT in this action? from there.
check one of the boxes to the right ay ' ere

 

[J] Yes fx} No — [[] NO. Continue to Question C.2.

 

€.2. Do 50% or more of the plaintiffs who reside in the YES. Your case will initially be assigned to the Eastern Division.

 

If "no, "skip to Question D. If "yes," answer | district reside in Riverside and/or San Bernardino [1 Enter "Eastern" in response to Question E, below, and continue
Question C.1, at right. Counties? (Consider the two counties together.) from there.
check one of the boxes to the right o> NO. Your case will initially be assigned to the Western Division.
. (-] Enter "Western" in response to Question E, below, and continue
from there.

 

 

 

   

 

Indicate the location(s) in which 50% or more of plaintiffs who reside in this district q rq bx]
reside. (Check up to two boxes, or leave blank if none of these choices apply.)

 

Indicate the location(s) in which 50% or more of defendants who reside in this
district reside. (Check up to two boxes, or leave blank if none of these choices C] | [x]
apply.}

 

 

 

 

       

 

D.1. fs there at least one answer in Colurnn A? D.2. Is there at least one answer in Column B?

FE] Yes — [X] No [| Yes No

If "yes," your case will initially be assigned to the if "yes," your case will initially be assigned to the
SOUTHERN DIVISION. EASTERN DIVISION.
Enter "Southern" in response to Question E, below, and continue from there. : Enter “Eastern” in response to Question E, below.
If "no," go to question D2 to the right. canes If "no," your case will be assigned to the WESTERN DIVISION.

Enter "Western" in response to Question E, below.

 

  

ANITIAL DIVISION IN CACD

 

 

 

 

Enter the initial division determined by Question A, B, C, or D above: ep WESTERN
QUESTION F: Northern Counties? _ oe

     

 

 

 

   

 

 

[Ives [5] No

CV-71 (10/14) CIVIL COVER SHEET Page 2 of 3

Do 50% or more of plaintiffs or defendants in this district reside in Ventura, Santa Barbara, or San Luis Obispo counties?

 

 

A

 
. Case 2:16-cv-00835-SVW-RA@

  
 

Document 1 Filed 02/05/16 Page 23 of 23 Page ID #54
_ OISTRICT COURT, CENTRAL DISTRICT OF C

  

UNITED STA
CIVIL COVER SHEET
IX(a). IDENTICAL CASES: Has this action been previously filed in this court? NO [| YES

if yes, list case number(s):

 

iX(b). RELATED CASES: Is this case related (as defined below) to any civil or criminal case(s) previously filed in this court?

If yes, list case number(s):

NO. [] Yes

 

Civil cases are related when they (check all that apply):

C] A. Arise from the same of a closely related transaction, happening, or event;

C | B. Call for determination of the same or substantially related or similar questions of law and fact; or

[| C. For other reasons would entail substantial duplication of labor if heard by different judges.

Note: That cases may involve the same patent, trademark, or copyright is not, in itself, sufficient to deem cases related.

- A civil forfeiture case and a criminal case are related when they (check all that apply):

X. SIGNATURE OF ATTORNEY
(OR SELF-REPRESENTED LITIGANT):

[| A. Arise from the same or a closely related transaction, happening, or event;

[| B. Cail for determination of the same or substantially related or similar questions of law and fact; or

C, Involve one or more defendants from the criminal case in common and would entail substantial duplication of
labor if heard by different judges.

[7p

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, Al LU pee __ DATE: 02/05/16

Notice to Counsel/Parties: The submission Of this Civil Cover Sheet is required by Local Rule 3-1. This Form CV-71 and the information contained herein
neither replaces nor supplements the filing and service of pleadings or other papers as required by law, except as provided by local rules of court. For
more detailed instructions, see separate instruction sheet (CV-071A).

 

 

Key to Statistical codes relating to Social Security Cases:

Nature of SuitCode Abbreviation
861 HIA
862 BL
863 DIWC
863 DIWW
864 SSID
- 865 RSI

Substantive Statement of Cause of Action

All claims for health insurance benefits (Medicare) under Title 18, Part A, of the Social Security Act, as amended. Also,
include claims by hospitals, skilled nursing facilities, etc., for certification as providers of services under the program.
(42 U.S.C. 1935FF(b))

All claims for "Black Lung” benefits under Title 4, Part B, of the Federal Coal Mine Health and Safety Act of 1969. (30 U.S.C.
923)

All claims filed by insured workers for disability insurance benefits under Title 2 of the Social Security Act, as amended; plus
all claims filed for child's insurance benefits based on disability. (42 U.S.C. 405 (g))

All claims filed for widows or widowers insurance benefits based on disability under Title 2 of the Social Security Act, as
amended. (42 U.S.C. 405 (g))

All claims for supplemental security income payments based upon disability filed under Title 16 of the Social Security Act, as
amended. .

All claims for retirement (old age) and survivors benefits under Title 2 of the Social Security Act, as amended.
(42 U.S.C. 405 (g))

 

CV-77 (10/14)

CIVIL COVER SHEET Page 3 of 3

 

 

 

 
